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  1 Jordon Harlan, Esq. (CA #273978)
    HARLAN LAW, P.C.
  2 2404 Broadway, 2nd Floor

  3 San Diego, CA 92102
    Telephone: (619) 870-0802
  4 Fax: (619) 870-0815
    Email: jordon@harlanpc.com
  5

  6 Kenneth W. Pearson, Esq. (MN #016088X)
    Admitted Pro Hac Vice
  7 Adam J. Kress, Esq. (MN #0397289)
    Admitted Pro Hac Vice
  8 JOHNSON BECKER, PLLC

  9 444 Cedar Street, Suite 1800
    St. Paul, MN 55101
 10 Telephone: (612) 436-1800
    Fax: (612) 436-1801
 11 Email: kpearson@johnsonbecker.com

 12 Email: akress@johnsonbecker.com

 13 Attorneys for Plaintiff Tiffany Bluitt

 14                         UNITED STATES DISTRICT COURT

 15                        CENTRAL DISTRICT OF CALIFORNIA

 16   TIFFANY BLUITT, an individual,
                                                  Case No.: CV 21-5732-JFW(SKx)
 17                         Plaintiff,
                                                  Complaint filed: July 15, 2021
 18   v.
                                                  Assigned to Hon. Judge John F. Walter
 19
      TABLETOPS UNLIMITED, INC.                    NOTICE OF SETTLEMENT
 20   d/b/a TTU, a California
      Corporation,
 21
                             Defendant.
 22

 23         The parties respectfully notify the Court that the parties have agreed in

 24 principle to settle the above-captioned matter. Counsel for the parties are in the

 25
      process of preparing and finalizing the Settlement Agreement and Stipulated
 26
      Dismissal. The parties intend to file the Agreement as soon as practicable, but
 27
      respectfully request that the parties are given 30 days to file the said Agreement.
 28                                               1

      PLAINTIFF’S RESPONSES TO DEFENDANT SENSIO, INC.’ S REQUESTS FOR ADMISSIONS TO
                              PLAINTIFF AMY KELLY, SET ONE
Case 2:21-cv-05732-JFW-SK Document 34 Filed 04/18/22 Page 2 of 3 Page ID #:158




  1                                             JOHNSON BECKER, PLLC
  2
      Dated: April 18, 2022                     /s/ Adam J. Kress, Esq.
  3                                             Kenneth W. Pearson, Esq. (MN
                                                #016088X)
  4
                                                Admitted Pro Hac Vice
  5                                             Adam J. Kress, Esq. (MN #0397289)
                                                Admitted Pro Hac Vice
  6
                                                444 Cedar Street, Suite 1800
  7                                             St. Paul, MN 55101
                                                Telephone: (612) 436-1800
  8                                             Fax: (612) 436-1801
  9                                             Email: kpearson@johnsonbecker.com
                                                Email: akress@johnsonbecker.com
 10

 11                                             In association with:

 12                                             HARLAN LAW, P.C
 13
                                                Jordon Harlan, Esq. (CA #273978).
 14                                             2404 Broadway, 2nd Floor
                                                San Diego, CA 92102
 15
                                                Telephone: (619) 870-0802
 16                                             Fax: (619) 870-0815
                                                Email: jordon@harlanpc.com
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      PLAINTIFF’S RESPONSES TO DEFENDANT SENSIO, INC.’ S REQUESTS FOR ADMISSIONS TO
                              PLAINTIFF AMY KELLY, SET ONE
Case 2:21-cv-05732-JFW-SK Document 34 Filed 04/18/22 Page 3 of 3 Page ID #:159




  1                           CERTIFICATE OF SERVICE
  2         On April 18, 2022, I caused to be served the following document(s):
  3
      By the following method of service:
  4
      NOTICE OF SETTLEMENT
  5
           BY ELECTRONIC MAIL ADDRESED AS FOLLOWS:
  6

  7 FRED TRUDEAU (SBN 213292)
      NICOLE van KLAVEREN (SBN 138561)
  8 SIMS, LAWRENCE & ARRUTI
      2261 Lava Ridge Court
  9 Roseville, CA 95661
      Telephone: (916) 797-8881
 10 Facsimile: (916) 253-1544

 11
      Email: fred@sims-law.net; nicolevk@sims-law.net

 12
      Executed on April 18, 2022, at Saint Paul, Minnesota. I declare under
 13 penalty of perjury under the laws of the State of California, that the above
      is true and correct.
 14

 15
      Dated: April 18, 2022        /s/ Adam J. Kress, Esq.
 16

 17

 18

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                                             3
      PLAINTIFF’S RESPONSES TO DEFENDANT SENSIO, INC.’ S REQUESTS FOR ADMISSIONS TO
                              PLAINTIFF AMY KELLY, SET ONE
